
USCA1 Opinion

	




          September 29, 1992    [NOT FOR PUBLICATION]                                 ___________________          No. 92-1246                                               CARMEN MORALES,                                 Plaintiff, Appellant                                          v.                       SECRETARY OF HEALTH AND HUMAN SERVICES,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jose Antonio Fuste, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                           Campbell, Senior Circuit Judge,                                     ____________________                               and Cyr, Circuit Judge.                                        _____________                                 ___________________               Francisco J. Hernandez-Rentas on brief for appellant.               _____________________________               Daniel F.  Lopez Romo, United States  Attorney, Jose Vazquez               _____________________                           ____________          Garcia,  Assistant United  States Attorney,  and Joseph  E. Dunn,          ______                                           _______________          Assistant  Regional  Counsel,  Office  of  the  General  Counsel,          Department of Health &amp; Human Services, on brief for appellee.                                  __________________                                  __________________                      Per Curiam.  Claimant, Carmen Morales, appeals from                      __________            a  district  court  decision  affirming  the  denial  of  her            application for  Social Security disability  benefits for the            period between September, 1981  and December, 1986.  Claimant            alleges mental  and physical impairments.  The Administrative            Law Judge  (ALJ) concluded  that, taken  together, claimant's            impairments are  severe and  prevent her from  performing her            past  work as  a  cook,  but  would  not  preclude  her  from            performing a significant number of other jobs in the national            economy.  We affirm.                                      BACKGROUND                                      __________                 Claimant  was  born  in  1944  and  has  a  ninth  grade            education.   She worked as a cook in a school cafeteria until            September, 1981,  when  her disability  allegedly  commenced.            She has  been unemployed since  then.   Claimant was  granted            disability  benefits  by  the  Commonwealth  of  Puerto  Rico            Retirement   Systems  Administration.     Claimant  filed  an            application for Social Security disability benefits on August            2, 1985,  alleging a "nervous condition."   Subsequently, she            also alleged poor circulation and pain in her legs and feet.             Claimant's insured status expired on December 31, 1986.                 Following denial of her application, claimant obtained a            hearing  before  the  ALJ  on October  5,  1987.    Following            testimony   by  the   claimant,   Dr.  Rafael   Nogueras,   a            psychiatrist, testified  as a medical advisor  at the request                                         -2-            of  the ALJ.  The ALJ  concluded that "the combined effect of            claimant's musculoskeletal and mental components amount  to a            severe impairment," but that, at  the time her insured status            expired, claimant's  impairment  did  not  prevent  her  from            performing  her  past work  as a  cook.   Therefore,  the ALJ            concluded  that  claimant  was  not  entitled  to  disability            benefits.                 Claimant  appealed  the ALJ's  decision to  the district            court, which in an  opinion dated July 19, 1989  remanded the            case on the ground that the ALJ gave inadequate consideration            to  claimant's complaints of pain in her heels.  The district            court  faulted the  ALJ  for failing  to  properly apply  the            guidelines set  forth in  Avery  v. Secretary  of Health  and                                      ___________________________________            Human Services, 797 F.2d 19 (1st Cir. 1986) for evaluation of            ______________            residual   functional   capacity   ("RFC")   for   subjective            complaints of pain.                 On remand,  the ALJ conducted a  supplemental hearing on            February  8, 1990,  at which  both claimant and  a vocational            expert  ("VE") testified.  In an  opinion dated  February 26,            1990, the  ALJ modified  his original findings  and concluded            that  claimant's RFC  "is limited  to a  light work  level of            exertion, of unskilled, simple nature where she can alternate            positions  at will"  and,  therefore, claimant  is unable  to            perform  her past  work  as  a cook.    Based upon  the  VE's            testimony on  the local availability of  a significant number                                         -3-            of jobs which claimant could perform, the ALJ again concluded            that  claimant was  not entitled  to  benefits.   The Appeals            Council affirmed the ALJ's decision.                   Claimant  again appealed  to the  district court  on the            ground that there was not substantial evidence to support the            Secretary's  decision.   The district  court concluded  that,            with respect to  claimant's complaints of  pain, the ALJ  had            fulfilled  the requirements  of  Avery.   The district  court                                             _____            admonished the  ALJ, however,  for complying with  the letter            but not the spirit  of the Avery decision and  stated that it                                       _____            would  prefer  more specific  findings  supporting the  ALJ's            reasoning.   Concluding  that the  Secretary  had substantial            evidence  to  support  his  finding  that  claimant  was  not            disabled, the district court affirmed the denial of benefits.                                   MEDICAL EVIDENCE                                   ________________            A. Mental Impairment               _________________                 The   record  contains   medical  reports   prepared  in            November, 1982  and December, 1983 by  treating physicians in            connection   with   claimant's  application   for  disability            benefits from the Puerto Rico  Retirement System.  The record            also  includes reports  from  doctors at  the Arecibo  Mental            Health Center where claimant  was treated, on and off,  as an            out-patient from  January, 1983  through February, 1986.   In            addition,  the  record   contains  reports  from   claimant's                                         -4-            treating psychiatrist, Dr.  Llado, and from three  consulting            psychiatrists who examined claimant, Dr. Mojica,  Dr. Guillen            and  Dr. Toro.  Finally, the record contains the testimony of            the medical advisor, Dr. Nogueras, a non-examining consulting            psychiatrist who reviewed the claimant's medical records.                 In   a  November,   1982   report,   based  on   monthly            examinations since September,  1981, the examining  physician            reported that claimant complained of "insomnia, agitation and            crying spells, apparently without reason."  The diagnosis was            "anxiety neurosis  with depression."  There  is no indication            that medication was prescribed for this condition.                 The first report from  the Arecibo Mental Health Center,            dated  January,  1983,   describes  claimant's  symptoms   as            follows:  "frequent  headaches,  asphixiation,  shortness  of            breath, pain  in the side of  the heart.  Says  that when she            tries  to speak in places  where there are  groups of people,            she  feels  her  mouth trembles.    Cries  frequently  . .  .            Forgetful.      Starts   screaming   because   she   develops            nightmares."     The  diagnosis  is  "anxiety  disorder  with            depressive traits."  The report recommends medical evaluation            and individual therapy.                   Subsequent reports from the Mental  Health Center visits            for  February,  April,  May  and  August  indicate  that  the            claimant reported  that "the medication"  (unspecified) helps            her.  In  September, 1983, claimant  said that the  treatment                                         -5-            had  been  helping  her.   In  November,  1983, claimant  was            discharged  from the  Center because  she indicated  that she            wished to continue treatment with a private psychiatrist.                   In  August, 1984,  claimant  returned to  the Center  to            continue  treatment.    In  September,  1984,  she  "appeared            anxious  and depressed.    Cried during  the interview."   In            March, 1985, the report indicates that claimant said she felt            "fair" and  that  the medication  that  helped her  most  was            "Tranxene 7.5  mg  HS."   In June,  1985, she  said that  the            medication  still  helped her,  but  that  after she  stopped            taking hormones prescribed following her recent hysterectomy,            she  developed "flushes"  and became  nervous.  In September,            1985, claimant reported that  "sometimes she starts screaming            without any  reason" and  that she  now takes  her medication            twice a day.   The report from the claimant's  November visit            indicates that  "on some  days she  feels better, others  she            feels worse," that she still takes her medication twice a day            and that it helps  her.  The  report from her December,  1985            visit  indicates that  she  "appears  depressed."    Claimant            indicated that she "feels controlled only with the use of the            medication" and that she "doesn't tolerate being in groups of            people, tends  to isolate  herself."   Finally,  in her  last            visit  (February  1986) to  the  center  during the  relevant            period, claimant  stated that she  felt "fair"  but that  her            application for  Social Security benefits caused  her to feel                                         -6-            nervous.  She also  complained of "tachicardia" and  that her            heart "trembles."    Claimant indicated  that the  medication            helps her.                 On August 27, 1985,  claimant was examined by Dr.  J. A.            Mojica Sandoz, a psychiatrist,  for the purpose of evaluating            her eligibility for Social  Security disability payments.  At            the   interview,  claimant   admitted  upon   questioning  to            experiencing  "insomnia, headaches, dizzy  spells and moments            of easy  irritability."   She reported  that  she was  taking            Tranxene 7.5 at bedtime  but that "they don't do  anything to            me."  The  report also  indicated  that  claimant was  taking            analgesics.    Claimant  reported  that she  lives  with  her            employed  husband and  teenage  son  and  that she  does  the            household chores (except for the shopping).                 Dr. Mojica  reported that he "could  not detect anything            remarkable  regarding her attitude  or behavior. She answered            every question  asked."   He  added  that "she  was  slightly            anxious and  tense"  and  that  "the  affectivity  prevailing            during the examination was of a  depressive nature," but that            she  was "accessible, cooperative and frank. . . The progress            of  her thought was of  a normal tempo.   She was spontaneous            and  expressed  herself in  a  logical,  lucid, coherent  and            relevant  form."   She did  not exhibit  any difficulty  with            establishing  interpersonal  relations.   Her  "capacity  for            remote, intermediate  and recent  memory was adequate."   She                                         -7-            was  normally  oriented  in  time,  place and  person.    Her            capacity for  judgment was "adequate," and  she was "mentally            competent to  handle her  funds in  an adequate  and rational            manner."   Dr. Mojica's  diagnosis  was of  a mild  dysthymic            disorder.    The  secondary  diagnosis was  of  a  histrionic            personality disorder.                 The  first report  of  Dr. Victor  J. Llado,  claimant's            treating psychiatrist, is dated  September 3, 1985.  Claimant            had been receiving psychiatric treatment from Dr. Llado since            October, 1983.   Dr.  Llado describes claimant's  symptoms as            follows: "a combined picture of depressive states and anxiety            attacks, including mild-to-moderate insomnia, overall feeling            of nervousness, sadness, tiredness, and aloofness."  Claimant            reported to  Dr. Llado that she  stays home most of  the day,            doesn't   handle  any   money   and  has   handed  over   all            responsibilities to  family members.   She denied  "doing any            chores or engaging in any  tasks or meaningful activities  at            home."   (In  contrast to  Dr. Llado's picture  of inactivity            however, was  claimant's own description of  functions in her            August 1985  application  where she  said  she took  care  of            household  chores, did  the cooking,  went shopping  with her            husband, and did some gardening.)                 Dr. Llado's report contains the following description of            claimant's  mental  status:  "The  claimant  was  alert, well            oriented  as to  time,  place, and  person"; "The  claimant's                                         -8-            social  judgment  and reality  testing  seemed  intact"; "The            claimant's  thought processes were  intact"; "The content was            appropriate, relevant, simple,  scanty, but commensurate with            the claimant's socio-demographic characteristics."  There was            no evidence  of perceptual  disturbances or memory  deficits.            Dr.  Llado reported  that  claimant wept  from  time to  time            during the meeting and evidenced a "mild-to-moderate level of            psychomotor retardation" and "easy distractibility  with poor            concentration throughout the meeting."                 Dr. Llado diagnosed claimant as having a chronic, severe            generalized  anxiety  disorder.   The  doctor concluded  that            "claimant's emotional  condition is  rather severe" and  that            the prognosis is poor.  In his opinion, claimant's  emotional            condition, including a "poor sense of self," seriously limits            the claimant  and makes her  very vulnerable to  the ordinary            stresses  of employment.   He  felt she  could not  "meet the            occupational  and performance  levels  demands of  a  regular            competitive job market."                 Dr. Llado's second psychiatric report is dated March 25,            1986. ( He saw claimant four times during the intervening six            months between his  first and second reports.)   The symptoms            remained the same: "tiredness, insomnia,  mild crying spells,            feeling  sad and lonely,  and overall  emotional dependency."            Dr. Llado  reported that he  had been treating  claimant with            Xanax  1 mg.  h.s.p.o. and  psychotherapy.   Claimant's daily                                         -9-            activities  remained  limited: "The  claimant tends  to avoid            responsibilities  assuming  a  passive-dependent  posture  at            home."   The report   added that  "most tasks and  chores are            performed by others"    and that "decision making  within the            family is done with little or no participation by claimant."                  The report described claimant's  mental state in similar            terms as  Dr. Llado's  previous report,  but added that  "the            claimant seemed very anxious, easily startled, complaining of            inability  to  relax,  dry  mouth, and  restlessness."    The            diagnosis remained the same  as the previous report.   In his            discussion of the diagnosis,  however, Dr. Llado stated that,            in addition to a  poor sense of self, claimant  suffered from            "concretist thinking, simplistic behavior, labile affect, and            easy irritability."  He concluded that "the excessive anxiety            and extreme  degree of social  isolation have created  a poor            tolerance for stress and inability to relate well to others."                 On February 2, 1986, claimant was evaluated  by Dr. Juan            A. Guillen,  an examining physician.  She complained that she            constantly felt like  crying, that  she did not  want to  see            people  or  to be  there and  that she  wants  to work.   Her            husband reported  that she screams at  night, that everything            irritates her and that she has to be supervised in taking her            medications.   She was  being treated  with Tranxene  7.5 mg.            H.S.  She did,  however, visit with neighbors and  within the            family.                                         -10-                 Dr. Guillen described claimant as possessing psychomotor            retardation, but  adequate  motor coordination.  He  reported            that she was  cooperative and established a  rapport with him            during the evaluation, although it was not spontaneous.   She            did  not respond  to the  doctor's initial  greeting, avoided            visual contact, answered only some of his questions and cried            during the interview  when talking about her complaints.  The            report then described claimant as sad, with  slow speech, but            as  possessing "adequate association  of ideas,  the sequence            was logical,  coherent and  relevant."  Dr.  Guillen reported            that claimant's affect was "appropriate to the content of her            thoughts.  She was alert, with adequate attention, in contact            with  reality.    She  was  oriented  in  person  and  place,            partially  in time.  Her  memory for past  events, recent and            immediate were adequate."                 The  record also  contains a  psychiatric report  by Dr.            Toro  dated  February  7,  1987,  more  than  a  month  after            claimant's  insured status  expired.  Claimant  reported that            she  was seeing Dr. Llado each month and taking the following            medications:  Tranxene 3.75 mg. 1 A.M., Tranxene 15 mg. 1 hs.            The report stated that  claimant's "response to treatment has            been  good."   The  claimant  described  a life  of  relative            isolation,   leaving   her   home   only   for  her   medical            appointments,  and inactivity,  helping  some with  household                                         -11-            chores.  Claimant reported  a decreased ability to  do simple            tasks and a decreased tolerance to stress.                 Dr.  Toro  described   claimant's  behavior  during  the            examination: "She cried frequently  during the interview. . .            Her  eyes had a  sad expression.   She did not  make good eye            contact.   Her  look was  directed towards  the wall  and the            floor.  Her speech was spontaneous and she spoke in a whining            tone of  voice."   The  report  concluded that  claimant  was            "coherent, logical  and relevant  and associated well  in her            ideas. . . Her behavior was cooperative."  It also found that            claimant  "seemed  to  be  preoccupied,"  looked  sad,  acted            depressed and anxious.  "She was oriented in person, in place            and not oriented in time as she did not even  know the year."            Dr.  Toro described  claimant's remote  memory as  deficient,            though not her  short term or  recent memory.   He found  her            attention   span  to  be   adequate,  but  her  concentration            deficient.    The  diagnosis  was  dysthymic  disorder   with            anxiety.                 On  February  18,  1987,  Dr. Luis  Sanchez  Raffuci,  a            psychiatrist,  completed  a  Psychiatric Review  form  and  a            Mental  Residual Functional  Capacity  Assessment form  based            upon  his  examination of  claimant's  medical  records.   He            concluded that claimant suffered from an "affective disorder"            characterized  by "depressed  mood, poor  motivation, somatic            preoccupations  and diminished  concentration."   Dr. Sanchez                                         -12-            determined that the severity of claimant's impairment did not            meet or  equal the ones listed in 20 C.F.R. Part 404, Subpart            P,  Appendix  1  and  did not  prevent  her  from  performing            substantial gainful activity.                 Dr. Sanchez' assessment of claimant's  mental functional            capacity  was that  claimant's ability  to remember  detailed            instructions was moderately limited by her depressed mood and            diminished concentration, but that the other functions in the            "understanding  and  memory"  category  were  preserved.   He            reported that she  was markedly  limited in  her "ability  to            carry out detailed  instructions," and moderately  limited in            her ability  to "maintain  regular attendance and  complete a            normal work week without interruptions."  In terms of "social            interaction," Dr. Sanchez determined that most functions were            preserved, but  that her  depressed mood and  poor motivation            moderately  limited  her "ability  to  interact appropriately            with  the   general  public   and  the  ability   to  respond            appropriately  to  criticisms  from  supervisors."    In  the            "adaptation"   category,   all   claimant's  functions   were            preserved.                   At  the  first  hearing  before the  ALJ,  Dr.  Nogueras            summarized  the  claimant's  medical  records  and  gave  his            opinion of claimant's condition.   He noted that although Dr.            Llado's September, 1985 report diagnosed claimant as having a            "severe  and chronic"  condition, Dr. Llado's  description of                                         -13-            claimant's  mental  state was  of a  condition that  was only            "slight to  moderate" in intensity.   Dr. Nogueras referenced            the list of claimant's adequate functioning factors  included            in Dr. Llado's  report.   In response to  questioning by  the            ALJ,  Dr. Nogueras  concluded that  claimant suffered  from a            dysthymic disorder of moderate intensity.  He added  that the            condition has  worsened over the relevant  period, increasing            from slight to moderate intensity.  On cross examination, Dr.            Nogueras  confirmed that claimant's  mental condition did not            meet  or  equal  the   mental  impairments  included  in  the            Secretary's Listing.  He stated that claimant's crying spells            during the  interviews implied an emotional variability which            "if  this was her usual behavior in a work environment" might            present an obstacle in terms of her job performance.                 The record also includes a letter from Dr. Elias Jimenez            Olivo, dated February 17,  1990 and submitted at the  time of            the supplemental hearing.  Dr. Jimenez' treatment of claimant            began on  November 14, 1987, almost one year after claimant's            insured  status had  expired.   He concluded  that claimant's            symptoms  "are   compatible  with  a  diagnosis   of  Chronic            Dysthymic  Disorder" and  that she  was taking  the following            medication: Limbitrol 10-25 H.S. and Elavil 10 mgs. bid.  Dr.            Jimenez'  opinion was that claimant was "not fit to engage in            any type of sustained and substantial gainful activity."            B. Physical Impairment               ___________________                                         -14-                 Claimant's  1985 application for disability benefits did            not  base disability  on any  physical  problems.   A nervous            condition alone was described as the disabling condition.  In            claimant's Reconsideration Disability Report  dated February,            1986, however, she  reports that  since 1981, she  has had  a            "leg problem  with bad circulation, and  'espuelones' in both            feet" and that she "can't stay too long standing or walking."                 In March, 1980, claimant  consulted doctors at the State            Insurance Fund  (SIF) regarding pain  in her right  lower leg            and foot and numbness  in her middle toe, which  she had been            experiencing intermittently over the past four to five years.            Laboratory  tests and x-rays of  the right leg  and foot were            normal.   Claimant apparently returned to the  SIF doctors in            July, complaining  of pain  in her  right leg,  including her            knee.   She was  referred  to Dr.  Rolando Colon  Nebot,   an            orthopedist. All tests  indicated that the leg was normal and            found no evidence of osteoarthritis and no  edema or effusion            of claimant's  right knee and  range of motion  within normal            limits.                 In the  reports prepared  in connection  with claimant's            application  for  state  disability  benefits,  claimant  was            diagnosed  first  with  arthritis   in  her  right  knee  and            circulation problems, by Dr. Valazquez, who  treated claimant            between October, 1978 and  March, 1980.  A second  report was            prepared by  a doctor  (name illegible) who  treated claimant                                         -15-            from September, 1981 through November, 1982 for "pain in both            heels."   The  diagnosis  was of  bilateral calcaneus  spurs.            That report stated that the  "condition does not improve with            the  use  of  prosthetic  shoes  nor  with  the  injection of            steroids or analgesics, only improvement  is with rest."  The            physician noted that the claimant "can't remain standing over            1/2  hour  continuously  due  to  the  pain  in  the  heels."            Finally,  Dr. Coker  reported that  he treated  claimant from            August, 1982  through November, 1982.  The diagnosis was also            of  calcaneal spurs  in  both heels.     Dr.  Coker  reported            prescribing analgesics and  recommending weight loss.   There            was "no improvement" in response to the treatment.                 Dr.  Sandoz's psychiatric report indicated that claimant            complained of  "pains in  both lower extremities."   Claimant            added  that "those  pains started  very slowly  and gradually            they increase in intensity.  I feel pains in my legs and then            I began to feel dizzy spells especially  when I am in crowded            places."    Dr. Sandoz  reported  that  claimant's "gait  was            normal" when he met with her on August 27, 1985.                 Dr.  Llado's  first  report  indicated   that  "claimant            allegedly developed an  emotional condition as a  result of a            work-related  accident in  1981 when  she developed  edema of            legs due to standing too  long as a dining room worker."   He            noted that claimant had complained of "persistent, severe leg            pains, secondary to phlebitis treated by Dr. Labad."                                         -16-                 The record includes  a report by  Dr. Miguel A.  Marrero            Bonilla, an orthopedic surgeon, who examined claimant on July            31,  1986  at the  request  of  the Disability  Determination            Services.   The report indicated that claimant  feels pain in            her heels when  she stands up or walks long distances.  Based            upon  his  physical  examination  of  claimant,  Dr.  Bonilla            reported  that  claimant,  who "has  marked  obesity,"  walks            normally but "sits and squats  with difficulty on account  of            the obesity."  He further reported that she had good range of            motion in her hips,  knees and ankles.  The  report concluded            as follows: "The  patient has calcaneal spurs in  both heels.            X-rays  showed in the right os  calcis.  There is good R.O.M.            of the right knee.  No swelling."                 At  the   supplemental  hearing   on  remand,   the  ALJ            questioned  claimant  about  the  pain  in  her  legs.    She            testified that it  began in the right leg but later spread to            both legs, and emanates  from her feet to her  hips. Claimant            stated  that  she  was taking  Motrin  800  and  Flexeril, as            prescribed by Dr. Soberal,  her treating physician.   The ALJ            also  questioned claimant  about her  daily activities.   She            stated that she  cooks, with her daughter's  help, and washes            clothes.                 Miguel  A.  Pellicier,  a  VE,  also  testified  at  the            supplemental hearing.   He stated that  claimant's former job            as a cook was "medium" in terms of physical demand, involving                                         -17-            constant standing and walking.   It was a skilled job, but at            a low  level.  The ALJ  asked the VE to  assume that claimant            only has the residual  mental capacity for simple non-skilled            work,  but  that  she  is  capable  of  paying  attention and            concentrating.  The ALJ  further assumed that claimant's pain            in her legs prohibits her from being on her feet all day and,            therefore, that she  is limited to  light work which  permits            her to alternate positions at her discretion.                 Given those assumptions, the VE concluded  that claimant            could  perform the  following  jobs: garment  folder, garment            bagger,  garment  turner,  classifier  of cut  pieces.    Mr.            Pellicier testified that these jobs exist in the national and            local economy.  He further stated that other jobs exist which            claimant  could  perform, even  if  she  was required  to  do            sedentary work.   In response  to the ALJ's  questioning, Mr.            Pellicier  stated that, in general,  pain which is severe and            frequent  affects  one's  capacity  to  concentrate  and  pay            attention to tasks performed.                                      DISCUSSION                                      __________                 On appeal, claimant argues that the Secretary's decision            is not  supported by substantial evidence.   Claimant further            contends that  her due  process rights were  violated because            the ALJ failed  to follow the proper  procedures with respect            to  the following: 1) the evaluation  of her disability under            the  steps set forth in 20 C.F.R.    404.1520 (1991),  2) the                                         -18-            evaluation  of  complaints  of  pain  required  by  Avery  v.                                                                _________            Secretary of Health and Human Services, 797 F.2d 19 (1st Cir.            ______________________________________            1986), and 3) the procedure for evaluating mental impairments            set forth in 20 C.F.R.    404.1520(a).                 The  Social  Security  Act  establishes   the  following            standard  of review  in  this case:  "[t]he  findings of  the            Secretary  as  to  any  fact,  if  supported  by  substantial            evidence, shall be  conclusive, .  . ." 42  U.S.C.    405(g).            Therefore,   the  Secretary's   decision  to   deny  claimant            disability  payments  in this  case  must be  affirmed  "if a            reasonable  mind, reviewing the  evidence in the  record as a            whole,   could  accept   it  as   adequate  to   support  his            conclusion."  Rodriguez  v.  Secretary   of  Health  &amp;  Human                          _______________________________________________            Services, 647 F.2d 218, 222 (1981).            ________                 The  ALJ  correctly followed  the  sequential  steps set            forth at  20 C.F.R.    404.1520.   He  first  found that  the            claimant  had not worked  since September, 1981.   Second, he            determined that the combined  effect of claimant's mental and            physical impairments  amounted to  a severe impairment.   The            ALJ next concluded  that claimant did not have  an impairment            or  combination  of  impairments  that meets  or  equals  the            impairments  listed in  Appendix 1, Subpart  P of  the Social            Security  Regulations.    Fourth,  he  found that  claimant's            impairments prevented  her from performing  her past relevant            work as a cook.     Claimant  does not  dispute  any  of  the                                         -19-            above findings.   She takes  issue, however,  with the  ALJ's            finding at step five of the sequence, that her impairments do            not  prevent  her  from  performing any  other  work  in  the            national economy.  Specifically,  the ALJ found that claimant            had the RFC,  physically, to perform light  work which allows            her  to alternate positions at  will.  He  further found that            claimant  had  the REC,  mentally,  to  perform  work  of  an            "unskilled, simple nature."                   Considering   claimant's  age  at   the  time  that  her            insurance expired  (42 years), her limited  education and her            lack  of  acquired  work  skills which  are  transferable  to            skilled or semi-skilled employment, the ALJ found that "there            are a  significant number  of  jobs in  the national  economy            which [claimant]  could perform."   The  ALJ was  assisted in            this  determination by Rule 202.18, Table  No. 2, Appendix 2,            Subpart  P  of the  Social  Security Regulations  and  by the            testimony of a VE.   The ALJ concluded that the  claimant was            not disabled within the meaning of the Social Security Act at            any  time  through  December  31,  1986, the  date  on  which            claimant's insured status expired.                 The   ALJ's  findings   are  supported   by  substantial            evidence.   First, the ALJ's determination  that claimant had            the  RFC, mentally,  to perform  unskilled work  of a  simple            nature  is supported by the record.  Social Security Rule No.                                         -20-            85-15  describes  the mental  demands  of  unskilled work  as            follows:                 the  abilities (on  a  sustained basis)  to  understand,                 carry out, and remember  simple instructions; to respond                 appropriately  to supervision, coworkers, and usual work                 situations; and to deal  with changes in a routine  work                 setting.                 Although there is conflicting evidence on the effect of             claimant's mental impairment on her functional capabilities,            the resolution of such  conflicts is for the ALJ.  See, e.g.,                                                               _________            Rodriguez v. Secretary  of Health &amp; Human  Services, 647 F.2d            ___________________________________________________            at 222.  The  records of claimant's treatment at  the Arecibo            Mental Health Center from 1983 through 1986 indicate that her            medication,  Tranxene  7.5  mg.,  helps  alleviate claimant's            symptoms  of anxiety  and  depression. Dr.  Mojica found  the            claimant to be  accessible, cooperative and  frank.  She  was            "spontaneous  and  expressed  herself  in  a  logical,  lucid            coherent and  relevant form."   Her  capacity for  memory and            judgment were adequate  and she was  competent to handle  her            funds rationally.                 Dr. Llado described his patient as alert, well-oriented,            with social  judgment, reality testing  and thought processes            "in tact".  Dr. Guillen's  examination of claimant yielded  a            report of  adequate motor coordination, association of ideas,            attention and memory.   He described  claimant as alert,  "in            contact with reality", and oriented in person and place.  Dr.            Toro found  that claimant's  "response to treatment  has been                                         -21-            good."  He described  her as "coherent, logical  and relevant            and   associated  well  in  her  ideas.    Her  behavior  was            cooperative."   He determined that her  short-term and recent            memory  and her  attention  span were  adequate. Dr.  Sanchez            concluded that the severity  of claimant's mental  impairment            "doesn't  meet or  equal  the listings  and doesn't  preclude            [substantial gainful activity]."                    To  be  sure,   as  recounted   earlier,  there   was            conflicting evidence.    In particular,  both  of  claimant's            treating psychiatrists expressed  doubt regarding  claimant's            ability to meet the  demands of ordinary, gainful employment.            Dr. Llado was concerned  that claimant's emotional  condition            made  her  very  vulnerable   to  the  ordinary  stresses  of            employment.    Dr.  Jimenez,  based  upon  his  treatment  of            claimant between November, 1987 and February, 1990, concluded            that  she "is not fit to engage  in any type of sustained and            substantial gainful activity."                  The  record  taken   as  a  whole,   however,  provides            substantial  evidence to  support the  ALJ's  conclusion that            claimant  is  capable of  performing  work  of an  unskilled,            simple  nature.    It  was within  the  ALJ's  discretion  to            determine that, despite the moderate limitations upon certain            of claimant's  functional  abilities, the  mental demands  of            simple  work are within her capabilities.   Given the support            for  this conclusion in the  record, the ALJ  was entitled to                                         -22-            reject the contrary  opinions of Dr.  Llado and Dr.  Jimenez.            Dr.  Nogueras  testified  that  Dr. Llado's  diagnosis  of  a            "severe   and  chronic   condition"   was  contrary   to  his            description of  a condition that was only  slight to moderate            in intensity.  Dr. Jimenez' opinion that claimant was not fit            to  work was unaccompanied by medical  analysis and was based            on treatment which began  after claimant's insured status had            expired.                 At  the  October,  1987  hearing  before  the  ALJ,  Dr.            Nogueras  stated  that  if  the reports  of  frequent  crying            contained in the record represent claimant's "normal behavior            in  a work environment,"   this could present  an obstacle to            claimant's ability  to perform  a  job.     The ALJ  did  not            include this characteristic, however, in  describing claimant            to the VE at the February, 1990 hearing.  Although  there was            conflicting  evidence, the  ALJ's  apparent  conclusion  that            frequent crying would not  be claimant's ordinary behavior in            a work environment is supported by the record.                  In her  1985 Disability  Application, claimant describes            a fairly active routine, including household chores, cooking,            shopping with her husband and  some gardening.  This suggests            that  claimant was  not incapacitated  by her  crying spells.            The report of her behavior at the original interview with the            Social Security Administration in 1985 does not indicate that            claimant  cried. In all of  her visits to  the Arecibo Mental                                         -23-            Health  Center  from January,  1983  through  February, 1986,            claimant is reported to have cried only during her September,            1984 visit.   Finally, at  her August, 1985  appointment with            Dr. Mojica, claimant is not reported to have cried.                 Second, the ALJ's conclusion that claimant is capable of            a  light  work  level  of  exertion  provided  that  she  can            alternate positions at will  is also supported by substantial            evidence.    The  medical  records are  consistent  in  their            diagnosis  of calcaneal  spurs in  claimant's heels.   Taking            account of this diagnosis  and claimant's complaints that she            feels pain  in her  heels when  she stands  up or  walks long            distances and that she is unable to stand for  more than one-            half hour at a  time, the ALJ indicated that  claimant cannot            perform the full range of light work and must be permitted to            alternate  positions at  will.   The  VE testified  that jobs            existed in the national  and local economy for a  person with            claimant's limitations.   The VE further  testified that even            if claimant  was limited to  sedentary work, there  were jobs            that she could perform in the national and local economy.                 Avery  v. Secretary  of Health  and Human  Services, 797                 ___________________________________________________            F.2d  19  (1st  Cir.  1986) interprets  the  Social  Security            Administration's current policy as requiring that "when there            is a claim of  pain not supported by objective  findings, the            adjudicator  is to  'obtain  detailed descriptions  of  daily            activities by directing specific inquiries about the pain and                                         -24-            its  effects to  the claimant,  his/her physicians  from whom            medical evidence is being  requested, and other third parties            who would be likely to have such knowledge.'" Avery. 797 F.2d                                                          _____            at 23.  This directive has been satisfied in this case.                 At the February, 1990  hearing, claimant was  questioned            about  her former employment and she  described in detail the            tasks that she performed.  She also described her symptoms of            pain.     The  ALJ   questioned  claimant  about   her  daily            activities,  when she began to  be treated for  her pain, the            location and severity of  the pain, and how the  location and            severity  of the  pain had  changed over  time.   The medical            records include  reports containing descriptions  by claimant            of her pain and the ways in which it limits her activities.                   The ALJ  considered these  reports, but also  noted that            the  objective  medical  evidence  was  inconsistent  with  a            finding  of disabling pain.   The examination by Dr. Marrero,            an orthopedist, "has not shown the presence  of any swelling,            inflammation or  marked range  of motion limitation  of right            knee" the ALJ  reported in  his February, 1990  opinion.   He            further  noted   that  "[t]he   claimant  was   treated  with            analgesics which does not show  the presence of any disabling            pain."   Finally, he noted that claimant was "not observed in            any pain" and that she  reported involvement in daily chores,            including  cooking   and  shopping.     These  findings   are            substantially supported by the record as a whole.                                         -25-                 The ALJ found  the claimant's  complaints credible  only            "to the extent  that [claimant]  is limited to  a light  work            level  of  exertion."    This  credibility  determination  is            entitled to deference.  Frustaglia v. Secretary of Health and                                    _____________________________________            Human Services, 829  F.2d 192, 195 (1st Cir. 1987).  The ALJ,            ______________            taking  account   of  the   diagnosis  of   calcaneal  spurs,            determined that  claimant was further limited  because "it is            not  advisable  that  she   stays  walking  or  standing  for            prolonged periods."  The  ALJ's efforts to obtain information            about  claimant's  subjective  complaints  of  pain  and  his            consideration  of those complaints were sufficient to satisfy            the Avery standard.   See Berrios Lopez v. Secretary  of HHS,                _____             ___ __________________________________            951 F.2d 427, 429 (1st Cir. 1991) (ALJ adequately  considered                                               ___            claimant's subjective complaints of pain where he relied upon            diagnosis  of mild effusion with  no edema and  good range of            motion in all  joints and observation  that claimant did  not            appear to be in pain at the  hearing, but gave "some credence            to her complaints  . . . and [found] that  the range of light            work she is able to perform is somewhat narrowed.")                                      CONCLUSION                                      __________                 The ALJ's decision is supported by substantial evidence.            The medical  records of the examining  psychiatrists, and the            testimony   of  the  medical   advisor,  support   the  ALJ's            determination  that  claimant's  mental impairment  does  not            preclude  her from  performing work  of an  unskilled, simple                                         -26-            nature.  The medical evidence also supports the ALJ's finding            that  claimant  is limited  to light  work  in which  she can            alternate positions  at will.  The  ALJ adequately considered            claimant's subjective complaints  of pain in  determining her            RFC.  Finally,  the VE's testimony that  a significant number            of  jobs  exist  in  the  national  economy  which  meet  the            claimant's  requirements provides substantial support for the            ALJ's  decision that  claimant was  not "disabled"  under the            Social  Security Act.  There  is no merit  to the appellant's            claims that the ALJ failed to follow the proper procedures in            evaluating her disability and her complaints of pain.                   Affirmed.                 ________                                         -27-

